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  IT IS ORDERED as set forth below:



  Date: August 28, 2018
                                                      _____________________________________
                                                                  James R. Sacca
                                                            U.S. Bankruptcy Court Judge

 _______________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE:                                            )   CHAPTER 13
QUINN BOUVIER BRATTON, SR.                        )   CASE NUMBER A16-62021-JRS
                                                  )
                                                  )
            DEBTOR

   CONSENT ORDER ON TRUSTEE’S MOTION TO DISMISS FOR FAILURE TO
                PROVIDE TAX RETURNS OR REFUNDS
       On August 14, 2018 at 9:30 am, the Court held a hearing on the Trustee’s Motion to

Dismiss based upon the failure of the Debtor to remit tax return(s) or refund(s) to the Chapter 13

Trustee. It further appears to the Court that the Debtor, through counsel, agreed at the call of the

Court’s calendar to a consent agreement. For cause shown, IT IS HEREBY

       ORDERED, that the Debtor shall remit their Federal Income tax return or proof of an

Income Tax Extension to the Trustee by May 15th of each calendar year for the remaining years

the case is pending. If an extension is provided then the Debtor must provide the actual return to

the Trustee by the extension deadline to be in compliance with the terms of this Order.
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Additionally, unless further Court order allows retention, the Debtor shall pay any tax refund for

the years of the Debtor’s Applicable Commitment Period or any other agreed upon years to the

Trustee by May 15th of each calendar year. If the Debtor fails to provide either the tax refund or

tax return to the Trustee by May 15th or the date of the granted extension then the case shall be

dismissed without further hearing upon receipt of the Chapter 13 Trustee's Supplemental Status

Report requesting an Order of Dismissal. The Debtor may also submit notice to the Trustee that

they are not required to file Federal Income Tax Returns or notice to the Trustee if the

anticipated refund has not been received by the Debtor by the May 15th due date. Prior to

recommending dismissal the Trustee shall contact the Debtor's attorney via email to alert them of

the default at least 10 business days prior to recommending dismissal by supplemental report.

Additionally, a letter will be sent to the Debtor each calendar year requesting a copy of the tax

return and IT IS FURTHER


       ORDERED, that due to the Debtor spending Federal Income tax refund(s) for 2017

without Court permission, the plan is hereby modified to require the Debtor to provide their

refund(s) to the Trustee for repayment of creditors for the additional year(s) of 2020. The tax

refund(s) received for the additional year(s) shall cause an increase in the plan base.
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        The Clerk of the Court is directed to serve this Order on the parties included in the

attached distribution list.


                                     END OF DOCUMENT

CONSENTED TO BY:

/s/_______________________________              /s/________________________________
  Maria C. Joyner                                  Shawn Eisenberg
  Attorney for the Chapter 13 Trustee              Attorney for Debtor
  State Bar No. 118350                             State Bar No. 128077
  303 Peachtree Center Avenue, NE                  Slipakoff & Slomka, Pc
  Suite 120                                        2859 Paces Ferry Rd, Se
  Atlanta, GA 30303                                Overlook Iii, Suite 1700
  678-992-1201                                     Atlanta, Ga 30339
                                                   Signed by Maria C. Joyner
                                                   with express permission
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                                 DISTRIBUTION LIST

Case No.: A16-62021-JRS


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Hiram, Ga 30141


Debtor Attorney:
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Atlanta, Ga 30339


Chapter 13 Trustee:
Nancy J. Whaley
303 Peachtree Center Ave., NE
Suite 120
Atlanta, GA 30303
